1:23-cv-01184-CRL-JEH # 318-17   Filed: 04/22/24   Page 1 of 3




            Exhibit 1
Page                  of                        Pages
                                  3                                           1:23-cv-01184-CRL-JEH # 318-17                                                Filed: 04/22/24                             Page 2 of 3                                                               77~01588
                                                                                                           DAH CJf THIS m:rrnn                                CLASS1f1i:..:ATION'                  INCIDENT cnm: CHAN(~!::                                      R[l. CASE NO:S

                                                                                                                                                                Ii.]    IN]              ID]
                                                                                                                1-20-77                                          CHANCE NHDE.O
                                                                                                                                                                                                   fROM                     TO

                                                           NAME ANO fOfi All.AS                                                  AODH"ES-S (NO, CITY, Si ATE, ZIP}

                                                                                                                                                                                                      ·; r                                                                                                              • 1
                                                                                                                                            f I     +                    •    ; .,   ~    •    1

                                                          ROBINSON, James w.                                                     3033 w. Garden
                                                                                                                                                                                                                                                                                  REDACTED
                                                          OE~NIS, Leslie ,L-. ,                                                                                                                           -.   . !   .     6ij?-,it515
SEC. A:     A-Arrested.     B-B":'slnes~, Firm, Agen,c~,.. ~        C-Com,pl.a,inant
                                                                                                                                                                                                                                                                                      ::;,•_,.                 '.
SEC. B:     K-Oead Before Report           O-No.1ndkation of tnJurY               A-Blaeding, C.arried from Scene     B-Vltible 1riJury:.         i:;:~.No.Vi-Sible 1nj1.UY,.~omeni:ary !,Jnconscious,.C?mp~ain of_Pain •.                                  .• ..... _.•

SEC. C:     S-Sober       D-8,een Drinking            1-1ntoxica-tea/Under lnfh.iencli:!      O-Other (Describe in N.ilH.)

SEC. D:    M--Mal e · F- Female       X-.U11known
                                            I
                                                         I W•-White
                                                            !   I                                                                                                                                                                                                                                .,
                                      HAIR (OESC. I
                                                               .,
                                                              . I
                                                                    .
                                                                                                                                                                                                                                                                                                                CODE    OLIS



 r VPE "ROP-~ RT_v                                                                                                                                                                                                                                    OTHER DESC. OA.T A                                                ous
                                                                                                                                                                                                                                                                                            •    \I   -i   •
             • I                                                                                                                                                                                                                                                                            I         I


 LAU

                                                                                                                      ·.' .                                                                                                                                                            ::- '. f - i

    CONTINUATION                                      NARRATIVE:
     SHEET ONLY                       D                               161 hours - Per instructions from S t. Ti arks this officer went tc> th~·•Pa\· Adair
   Motor~s: .~hi c,h_ i ~ Jo~~.t~d, !='It.· 3039 -~. Gar'-qen, Jtr,eet anq ._i n.t~rvJe\f{ed th~ -e:npl,oye~~·:~f :-~~at1• bu~i.nes.~ .c<?r:icer:_l'!i ng the,i r ;- '. ._,.
   observ,ations· on 1-1~7-7 •.,. ,.                     r '.· ··                                                 . -·· .... _r .                                    ,-t-. r                                              \' ...   •   +   ..,   iO     +       > a   L   ,




       ..... -, ~- · 11,..) .. ~ ...... / ...... ~ :it·:          ::. fl·.:.:-.~_t= ._l--i.~J · ~l·~ . :~..,...~~· ~·· _ ·1 •• - ~ · l ; . r.· :~. i·:_.:i· ·. . i-.:., =.   ..l ... i. .. , i4 .-1
   Lesl:ie b Den °is stated that he ar:-rived for work at· a roxima·tel .0800 ho rs on 1-18- and -was in and·.ou·t -of -the business
   the maggrity of the .d~y.• ··,-Mr., Dennis stat_ed.:t_hat_he ;did~,not ..ob~~rve c;\J1ythirig:-µnusua,l .. ar.ou11c! 303.3.:W• :G~r~~n-V~a:t __ 9~t.~: _ne>r:
   has he observed an thin unusual in the ast.
    ohn E Nizzia Sr stated that he arriv~for·work at a roximatel 0800 hours and did not observe an thin unusual
  around 3033 W. Garden Mr. Nizzia stated that he was one of the employees who accompanied the victim's stepfather into
                         he o i     a iva and that he was the erson res onsib1e for ickin u the tele hone receiver
  which was laying next to the victim, Connie Cooper, and placed it back on the hook. John E. Nizzia, Jr. stated that
      a ·v fo         at a o imatel O 00 hours on 1-18- • Mr. Nizzia works on the east end of the Pat Adair buildin
  and is able to look out two windows which view the victim 1 s backyard. Approximately twelve feet separate the east end
             A a· b "td'    and he west end of the victim's residence at this oint. Mr. Nizzia stated that when he
  arrived for work that the victim's German shepherd was not tied in the back yard as was the usual custom. He stated that
           o     a   a sin le fnstance when he has arrived for work and has not observed the German she herd tied to one
  of the two clothesline poles located in the backyard of the victims• residence. Mr. Niziia further stated that it was
  a    a  c of h victim James Robinson to la a stereo or a ta e deck ever da around 11 or 12 o'clock. He stated
  that this music was alway? turned up loudly and it was easy for him to hear it in his work area. Other than the things
                                                                          h'n          around the victims 1 esidence on                                                                                                                                                                                                ID, NO
                                                                                                                                                                                                                                                              SUPERVISOR A,:OP~OVING




HTRA CO~iE:S TO                                                                                                                                                                                                                        Rff.                                       E..(TE:NSiON

                                                                                                                                                                                                                                                                                 5J              wJ
                                                                                                                                                                                                                                                                                 UTrLITY SHEET



                                                                                                                                                                                                                         PEORIA_SAVORY 409
 Page                                                                     Pages                                                                                                                                                                                                               FIELD COMMUNICATIONS                                          HRS.
                    2                                                                 NARRATIVE:
                                                                                                        1:23-cv-01184-CRL-JEH # 318-17                                                                  Filed: 04/22/24                   Page 3 of 3                                                0 Flash~Mes_sage
 1-A-TTACH                   PROPERTY TAG HERE                                                                I                                                                                                                                                                         _ _ O LEADS/NCIC Inquiry
 1
U - - - - - - - - - - - - - - - - - - J ____________________,.....c·,_··_·._·._-·_f_ _ _ _ _ _, _1------1 ___ O LEADS/NCIC Eritry                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                                                                                       I     '•


                                                                                                              0 License Inquiry
 1-18-77 •• This officer asked Mr~ Nizzia if he had ever s~~-n ,any~,_y_eflicle around                   _;;• 0 Inter-Dept. Requests
h-........-.:....,.-i-m:s1"17"o..--:=~~.,....,.,,.,+-;;-...,..,.r--i-~r.~-.,-,,...,.,.cr-:::s-'t-7"U"'7~Tl"i~-mr-t-r.n!~~~rlAf~f""""""7f-#hrt--;rrV---r7'iITi'ii3"i""""";:17i'\7t"~-J
                                                                                                                                                                                                                                                                                                     □ -Other Communication
        a     1   73 or           1   74 green Chevrolet Malibu.                                                                                                             ,.

        John H·.::Irf l~e··~-tated·-'tkat o~ fi~r.S:: that he
                                                                                                              I                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                                                     0 Cancellation Made


        that whi1e he was at his place qf employment
        nor has he observed an thin unusual in the as                                                                                                          at            ha
                                                                                                             I
        Ronald G. Barnewolt stated that 1he a riv d fo
        employment he did not         on hear anything                                                                                                                                              3033 W. Garden.                      Mr. Barnewolt further stated that he has
        not heard or obse ved          unusual in th

        La         dloff stat            eported for work at approximately_lOOO hours on J-JS-77 aod left the b11sio
 J      approximately 1300 hours on that date. Mr. Rudloff stated that the reason he left at 1300 hours was because Mr. Adair
 I_ -did- Aot-ha
        Garden on 1-18-77 nor has he observed anything unusual in the past around that residence.
        163S hours, 1-20-77
                  -,j...          :: _,       ... :·                      .c..         ·1,·:·r,,_. ·.r .. :,                     ;::_;7        i·',     •.            '.T,        .::.,-11..:r:,:-,··-1::~1,;·        7   • - - c.·;11L"• ..          ,
       This off i c'efr :went' 'to 1• the':Laramfi'e :,Garde"r'ls ·Tavern:· focated _;at ~lo39··l,fr~mi e·~and :;rftervieWed ,the :Jfartender-'; ~Nancy L~ iBe 11<.;1_,:·, .
       regarding her knowlegge of this incident. Mrs. Belk stated that she did not o                                            ·          ,-- ._> · '
       Garden on _the day of this incident and was not aware t_hat anything had happened unti 1 she observed several pol ice cars
       at ···ha· a d 's· :'!·,                                            i ; . ·. .                                     - -      ~ .;                  ·:·~ :, . ··.               "",             i····,- ,.            -·- . ·:· ' .. ·.               ... ·h· ··- ~ ' :'.           '       -~     ~          ,. ,_·                  •'        '.:a·,'
       aricl. she ·rep] i ed; thalf· to the· b'est 11 of 1 her 1-meinory.• she 'cl.fd- not -have ..any 1b 1ack :;customers, at; ran on ·11-18-:,77. :,,. ', < ·,'                                                                                                                                                    J    ·~:· :·      ·1~b \ .. ,. -
                                                                                                                                                                                                                                    .:··; __ .... '~.k· .. t·       ~    ;•:..:~ ,,ii       •,.r ::·•, ;.•        \'.•'_r•,           . ' ...



l-------f_.·~:-·:---'_.l_',_.1_;----,-:.,_.,_I'_·,_:....:':'-,-1~·~:-•._··_1~···_._··_·1-=--=--•_i·_:_....:.'_?'"'=-~·-··..:...!:'--_1-_,,_._ _ _...,·-.,'..:.•...__._.__,,_.__,._._..._,_ll"LI~.._.._..__._,..._._.,......_.._._._.-I.-'\~'·. -..,1 f ~1-~
                    _., r '"i           ~•    -:     i   •    ....    ='• ;:!:_,i• • •..-          1   :~                J•II.              :.,.J            ;,_• ...~•.:~    i   ••    •   ,1,._   7-.. . _,j:"°,,           - •         :;      ; ::'• ~.-•       i•. ,',.iL
                    . , " i. . •~ ·1               , , .. , ·, ; '                     ~      JJ            , , f;.: f .         ·1, ,- ,     ,·[.       f;; , · , "· c • I : • ·; ..., .
                                                                                                                  ,1;,      '    .;~;·:-,i.t
                                                                                                                                                          .            '             .
                                                                                                                                                      .,.,_ 1:.J :.:._~-.-i.:;.: r ·\,:'
                                                                                                                                                                                                       .1.

                                                                                                                                                                                                                                                                                                                     "w       •
                                                                                                                                                                                                                                                                                                                                  . .
                                                                                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                   c.: • ;:; f




                                                                                       • •~ 7 .             • . ·1       ' -; f, . • ,      r :( ,                                                                                      ·•:
                                                                                                                                                                                                                                           , ..   I



                                              ,- •       ·1          r•     • .I,,   r • • •," ••


                                                                                                                                                                                                                                                              SUPERVISOR APPROVING                                                              , 1.0. NO
                                                                                                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                                                                I




                                                                                                                                                                                                                                                          PEORIA_SAVORY 410
